                     UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA,    )
                             )
                 v.          )
                             ) CRIMINAL CASE NO. 1:11-CR-161-1
JOHNNY REID EDWARDS          )
                             )
                             )
  JOHN EDWARDS' MOTION TO DISMISS INDICTMENT ALLEGATIONS
                  FOR CHARGING DEFECTS
                    (Motion to Dismiss No. 5)

       Pursuant to Federal Rule of Criminal Procedure Rule 12(b)(3), Mr. Edwards

moves to dismiss portions of the Indictment for failing to charge valid crimes for which

he may be prosecuted. Specifically: (1) the Indictment charges Mr. Edwards with crimes

in Counts 2 through 5 that did not occur in this Judicial District and thus violates the

venue requirements of Article III, Section 2, the Sixth Amendment of the Constitution

and Federal Rules of Criminal Procedure 12 and 18; (2) Counts 2 through 5, by alleging

that Mr. Edwards “aided and abetted” the illegal receipt of campaign contributions,

charge him with an impossibility under the law because, as the principal charged in the

Indictment, he cannot “aid and abet” himself in committing the alleged crime; and (3)

Counts 1 through 3 are defective because $375,000 of the $725,000 alleged to have been

illegally contributed by Person C (Rachel Mellon) was not “received” until after Mr.

Edwards ended his campaign for the Presidency and therefore those donations could not

have been "campaign contributions" intended to influence the outcome of a federal

election.




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Dated: September 6, 2011



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                           CERTIFICATE OF SERVICE

      I hereby certify that on September 6, 2011, I electronically filed the foregoing
MOTION TO DISMISS INDICTMENT ALLEGATIONS FOR CHARGING
DEFECTS (Motion to Dismiss No. 5) with the Clerk of Court using the CM/ECF
system, which will send notification of such filing to the following:

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